       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 1 of 19




January 25, 2021

The Honorable J. Paul Oetken
United States District Comi
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pear·l Street
New York, New York 10007

Dear· Judge Oetken:

My name is David Coneia. I want to tell your Honor about myself. Confronting my actions as I
have done in this case has been a ve1y difficult process. I regret what I did and I am sony for it.

I grew up in Attleboro, Massachusetts, in a home with my loving mother, three older half-siblings,
and my younger sister. My half-siblings ar·e �an-iage. My mother spent ten
years of service as a nun but left the convent- and became a schoolteacher.
My parents met two years after her reentiy into the secular world. Ear·l in their marTiage, my
father's ex-wife (the mother of my half-siblings)                                    . M ar·ents
offered to take car·e of m three half-siblin s full-time
                                                my parents raised my half-siblings. But my father
didn't really pariicipate as a parent and so my mother essentially became a single mother of three
young children overnight.

My father lived with us until I was about eleven year·s old, but he was always an unhappy man
who took out his angers and fiusti·ations on our family. His emotional abuse towar·ds all of us (and
constant physical abuse towar·ds my half-brother and occasionally towar·ds my mother) made for a
sti·essful childhood.




                                                 1
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 2 of 19




After my parents' separation and divorce, we stmggled financially. My father had left to live with
his mistress (after my mother found out he was having an affair), which made it an even more
difficult time. My mother was never the same after that. She wasn't happy prior, but now she had
to take on responsibilities that she never had before. I immediately felt a tremendous amount of
pressure to be the man of the house. Not only did I take on all of the work around the house that
my father would nonnally do such as cutting the grass, trimming the bushes, fixing things when
they were broken, etc. but I also ended up being a sounding board for my mother.

My father did not help in any way with college tuition or expenses of any kind and always paid
the ve1y minimum of what the comt ordered. Even then, it was always late and put a lot of stress
on my mother. She just seemed to be a bit lost. Her husband left her with two young children, and
she was teaching school full-time again for the first time in decades as she had stopped to raise his
other three-children as her own. My mother spoke to me often about money and bills. I remember
her talking to me in detail about the divorce and what had happened, even discussing her specific
conversations with our priest or her lawyers. I felt the desire and responsibility to suppo1t her, but
it was extremely stressful. I now realize she was just doing the best she could. She felt she could
lean on me. Even though I could "technically" handle it, inside I was hmting ve1y badly.




                                                  2
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 3 of 19




It was even more difficult due to the contrast between our family and everyone else in our
neighborhood. We weren’t poor, but we were definitely the poorest people in our neighborhood
and the least stable when it came to our family. That was certainly a point of self-consciousness
amongst the neighborhood kids. I had some good friends in the neighborhood but we all know kids
can be hurtful. Some of them would say mean things about my family on a regular basis which I
had no response to.

When I was twelve years old, I discovered the game of golf and it became my refuge from the
stress of my childhood. I’ll never forget the first time I hit a golf ball. Friends of the family, who
my mother had met through her teaching job, took me to a driving range. I had a natural talent and
hit the ball very well from the first bucket of balls that I hit. The words of encouragement and
excitement in my friend’s father’s voice was something that I never heard before from my father.
Of course my mother always praised me and supported me, but it was different for me as a young
boy to hear coming from a man. My father had been the polar opposite, always finding fault,
whereas this man encouraged me and was proud of me, and it felt amazing. The next day after
hitting balls at the driving range they took me to a local par-three golf course. The whole
experience of going with them as a family was surreal to me. I couldn’t believe a family actually
did things together and was happy while doing them. This was something I fell in love with
immediately. Just as the night before, the encouragement I felt from my friend’s parents, as well
as from my friend, was one of the most amazing feelings I’ve ever had and exactly what I needed
at the moment. I truly believe God brought golf into my life at that moment to save me from going
down a wrong path. I remember them teaching me the etiquette of the game as we played and I
clearly remember birdying the third hole (not typical for a beginner). To say they were amazed
was an understatement. I was too new to the game and naïve to understand what I had really
accomplished but they were so happy for me. The freedom and peace I felt on the golf course and
to feel like I was part of a family that got along and was happy spending time together was
absolutely amazing.

Within a year of beginning to play, I saved up the money I earned from my childhood newspaper
route and purchased a set of golf clubs at Kmart and a junior summer membership at the local
public golf course for just $225. I played nonstop, as much as 36 or 45 holes any day I could get
there. I practiced constantly during the summer. My mother would often drop me off first thing in
the morning and I would practice all day until I was putting under the moonlight. During the winter
in Massachusetts, I would shovel snow down to the grass in order to hit the 85 practice balls I had
collected over time, waiting sometimes weeks for the snow to melt in order to pick them up, only
to do it all over again.

After entering and winning multiple local and state junior golf tournaments, I was finally accepted
to play in my first national tournament at the age of 15, just 3 years after beginning to play. I
finished 33rd out of 88 players in an international field in that tournament and began to seriously
consider becoming a professional golfer. For perhaps the first time in my life I was proud of
myself, especially because I was completely self-taught. When I told my father of the tournament
results and my professional aspirations, he remarked to me that if 32 other players beat me, what
would make me think I could ever play professionally. I decided that this was the last time he
would make me feel badly about myself. I used his hurtful comments as fuel and a way to prove
to him that I was good enough to pursue a career in golf.

                                                  3
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 4 of 19




I was eventually invited to play on the ESPN Junior Tour. If I played well, I would have the chance
to get a college scholarship or play professionally on the PGA Tour. I kept practicing and
improving and I decided to attend college at the University of Southern Mississippi to play for
legendary coach and fellow amateur golfer Sam Hall. But I had to return home within the first year
due to my mother’s poor health and cancer diagnosis. I then transferred to Bryant University in
Rhode Island to be closer to home and continue regularly playing golf. I left college to turn
professional, playing in any tournament I could qualify for.

Even though I was playing well, it was still not good enough for the PGA Tour. After several
months playing in Southern California while working at a country club to pay the bills and provide
a place to practice and play for free, and prior to heading to Florida to do the same, I had a bit of a
hiatus. While stopping in Philadelphia with my best friend (and co-professional golfer/traveling
partner), his father found out                                                            . Because he
was my best friend at the time, I decided to put golf on hold and help him in any way possible. His
father owned several restaurants in Philadelphia, so I began to help my friend to work at and
eventually manage one of the family restaurants. After one year in Philadelphia, and once the dust
settled, I left on my own to stick with the original plan of playing in Florida to train once again for
the PGA Tour. I spent three long years working at a country club while playing any time and in
any tournaments that I could get into. Unfortunately, although my game improved, it was just not
good enough. Eventually, after quite a bit of soul-searching, I decided to leave the game of golf
behind. I took my Philadelphia friend up on an offer to partner together and open a new restaurant.
I was reluctant, as it was a painful decision, but I did what I thought was best at the time. Although
sometimes I regret not having stayed attached to the game in some way, such as a teaching
professional, I probably wouldn’t change a thing. If I didn’t make that decision I wouldn’t have
met my wife and now have my amazing children and family life. But I’ll always be grateful for
the purpose and pride in myself the game of golf gave me.

It is important to add that during my self-introspection since my legal case began, I have reflected
quite a bit on my childhood. During this time, and after my father’s death a couple of years ago, I
found myself able to forgive him. He had a tough upbringing and was not a happy person. He was
the perfect example of the saying that: “hurt people, hurt people.” Finding it in my heart to see his
life from a different perspective, mainly recognizing that he was probably always in some sort of
mental or emotional pain, allowed me to forgive him. This, in turn, gave me a greater feeling of
peace with him.

Finding this forgiveness has also helped me put in perspective just how much my wife and children
matter to me. I remember people telling me before my first child how much I would love them,
but I was not prepared for the experience. My children are everything to me, doing my best to
teach them everything I possibly know that will help them live a happy, healthy, peaceful and
successful life. I spend hours a day with my children, along with my wife. It has been even more
now during Covid. I believe that every human being should try to leave the world better than they
found it and I’m not sure there’s a better way to do that then to raise your children properly to be
great human beings and citizens. It boggles my mind, and excites me, as to how much my children
can and will accomplish and how much greater of an impact they can have on the world than I
have had up until this point in life.


                                                  4
        Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 5 of 19




We’ve always been a very close family. We congregate in the same room together even though
we have enough space to be in separate parts of the house. My wife and I both wake up around
5:30 or 6 AM, have coffee together and talk. The kids are usually up shortly thereafter and we all
talk while getting breakfast discussing the day ahead and preparing anything the kids need for
school. We take turns making sure they have lunches, and these days being sure they have a clean
mask and a back-up mask. My wife usually takes care of my daughter’s long curly hair in a braid
while I help my little guy picking out his clothes and brushing his teeth. It’s definitely a full family
affair in the morning, but we love it. Rarely, if ever, have I ever seen them go to school where they
weren’t happy, smiling and totally prepared with their schoolwork and everything they need. But
generally, we run a pretty tight ship and create a lot of structure for our kids.

My wife works an alternating, one week-off / one-week on schedule at the hospital as a Physician
Assistant. When she works, I pick the kids up around 1:45 PM, bring them home and spend the
rest of the afternoon with them. I make sure that they get their homework done and we go through
all of their folders to review any work that’s been brought home. Inevitably they’ll have a snack
and then I let them both play together outside in good weather and then sometimes a splurge on
their iPads on other days. We’re fortunate to live in a community in Florida with a lot of green
space, including a playground and park area. I take them there often to play basketball, use the
jungle gym, throw the frisbee or kick the soccer ball around. Usually, they want to have a little
“picnic” and we bring a snack or sometimes even have dinner at one of the picnic tables. My kids
are best friends and love to play together.

When she’s working, my wife doesn’t get home until around 7:30 PM, so I cook dinner and feed
the kids before she gets home. We have dinner together and then its straight to bath/shower time
for both of them. Once they’re in their PJs we either play a board game or watch a family movie
on Hallmark channel or something good for them on Netflix. We’re pretty picky about what our
kids watch and I’m proud of that.

Going to church every Sunday is a very important thing for us, often followed by breakfast at home
or an occasional brunch at a local restaurant. Sunday is a true family affair in that respect.

Although this sounds like a dream compared to my childhood, giving them this kind of life and
spending such quality time together is the greatest gift I could ever ask for. There always seems to
be so much to teach them (and learn from them). But even more important is the time spent
listening to their day at school and helping them through minor problems with friends or bullies
or even just with their homework.

My kids have completely different personalities and really require individual attention. My
daughter is nine years old. We call her an “old-soul.” She is very caring, wise, patient and
extremely intuitive. She has a very deep and personal connection to God. She is literally the nicest
person I’ve ever met. She cares for everyone and everything alive, every person and animal. She
is so well-rounded, which is one of the main goals we’ve always had as parents. She is extremely
smart having tested very high prior to beginning school and has been in gifted programs/classes
since kindergarten. She loves softball and played on a team locally, prior to the pandemic. She
loves to code on her computer and of course play her iPad with her brother. They love to play


                                                   5
        Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 6 of 19




Minecraft and a few other games together. I’m always amazed at how sweet she is to him. While
being the older sibling she always includes her brother in everything she does.

My son is six years old and has more energy than any human being I’ve ever met. He can’t wait
for the pandemic to end so that he can join a Little League baseball team as loves baseball and is
quite talented. He played soccer prior to sports being stopped last year and loves to hit golf balls
with me whenever we have a moment. He also loves to help me fix everything in the house, when
needed. Like his sister, he has a heart of gold and he’s always thinking of doing something for
others. The other day my daughter’s long curly hair was so knotted after waking up that her head
hurt after all the brushing we had to do. He found her favorite soft blanket and made a comfortable
pillow for her to lay her head down on the couch while watching TV together. He does things like
that all the time without anyone mentioning a word.

Like his sister, my son is also a very old-soul with a real connection to God. He has begun to enjoy
going to church and is usually the one to ask to walk around the prayer garden at the church once
the mass has ended. While having these surprising interests at such a young age, he’s the same
little boy that loves to catch bugs, spiders and anything else that he can to keep in his little terrarium
so he can observe and feed them.

I’m fearful about how the consequences of my actions will hurt my children. In jail, I would miss
giving them the love and attention they need. Thinking about this breaks my heart.

I hope for my kids’ futures. I want them both to be happy, peaceful and well-rounded individuals.
I want them to be good Christians and human beings who treat everyone the same regardless of
race, creed, sexual orientation or economic status, simply nice non-judgmental people. I wish for
them to contribute to the world in some way, regardless of what they choose as a career, I want
them to “leave the world better than they found it.” This is something we say in our family all the
time and I’m glad the saying is beginning to stick with them. I want them to have a healthy respect
for themselves, to be confident and successful, yet caring and empathetic. Most of all I want them
to be happy and joyful and to stay close as siblings and to their mom and me for the rest of their/our
lives. I pray that they find the right spouses in life, should they choose to get married, or have
partners, and be happy amazing parents, should they choose to be blessed with children.

My children have recently experienced my wife’s and my year-long separation followed by our
ability to repair our marriage and live together happily once again. Prior to that, it was at least one
year with a lot of stress, while we were working through some marriage struggles. These issues
were completely unrelated to my legal situations as they happened a couple of years earlier. My
wife and I feel extraordinarily blessed to be one of a small percentage of couples that got back
together after separation happier than we’ve ever been. I feel blessed because my wife asked to
reconcile right in the middle of my legal battles with no assurances as to how my case will end up.

She could’ve easily taken the easy road and decided she didn’t want to be involved with the stress
and drama of such a public legal case. I could not blame her. The press coverage of me and the
case has been unforgiving. My face was plastered on the cover of newspapers and cable news
television shows. Chris Cuomo, from CNN, did a full six minute story on me personally. Most of


                                                    6
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 7 of 19




this wasn’t really related to me, but to questions about how the case might fit into political issues
bigger than me. But it made the case much harder for me and my wife.

She decided to stand by me no matter what. Like many couples we had a lot of things to work
through as marriage is not easy. On the contrary it can be quite difficult and really requires 100%
commitment from both sides. I realize that she is my true best friend and that I never want to be
separated ever again. We have been together for nineteen years, married for twelve years.

I have learned a lot since my arrest in this case. I have thought about the people that I was working
with. The relationship that stands out the most to me, and still does, is my long relationship with
Lev Parnas. I realize that I had become addicted to trying to make our business work and
compromise myself more times than I can remember. I remember many times acquiescing to his
opinion as he had a very strong personality. I blame myself, not him, for giving in on many
subjects.

Lev and I would argue almost on a daily basis on both large and small topics, generally to do with
business or finances. There were many red flags that this was not the right relationship for me to
be in either personally or professionally, but for some reason I stayed. The main reason was our
company, Fraud Guarantee. I felt a tremendous responsibility as I believed the company would
fail if I left. However, once I got arrested I realized that it had failed anyway. I wish I had been
stronger and smarter to cut ties many years earlier which could’ve averted this entire situation
completely.

This personal introspection led me to focus on the personal responsibility I had to take for the
decisions I had made. I also began to look at other relationships in my personal life, specifically
my marriage. My separation at the time, after several years of unhappiness, I realized was partially
a result of my obsessive desire to make our businesses succeed. My wife had asked me on many
occasions to leave Lev and the business and to do something different, but I chose not to. I fully
rationalized to myself that leaving the company would be extremely irresponsible and I couldn’t
imagine quitting something I had put so much time and effort into. I also believed it would
eventually be a great success and worth the effort. However, I should’ve realized differently. I
should’ve realized that the common denominator of any business failures in my life over the past
decade was Lev Parnas. No matter what good opportunities were ever presented to us, he would
always find a way to ruin them. Greed almost always came in to play when he would negotiate
final deals or business relationships, ultimately killing deals and often ruining relationships. It’s
important for me to say once again, I don’t blame Lev, I blame myself. I am the one who is
responsible for myself, my family and my integrity in life. I made poor choices. A good friend
once complimented me on several things, both personally and professionally. However, he made
it clear that I was going to end up with a bad reputation because of Lev. I only wished I had listened
to him and gone in another direction. Looking back I feel like I was always rationalizing Lev’s
decisions and behavior.

During my self-reflection, I learned about my strengths and more importantly about my
weaknesses. It seems like a lifetime ago and yet it was only sixteen months ago when this first
occurred. But the growth that has occurred in me personally since that time has been astonishing.
I am truly a different person than I was before. Never again will I allow myself to trade my integrity

                                                  7
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 8 of 19




for anything in life. It was the massive personal changes that came from this situation that
contributed to my wife approaching me at the beginning of last summer asking me if I would
consider getting back together and ending our separation. I had tried so hard to talk her into this
before, but she wouldn’t hear of it. But this time was different, she was coming to me. At that point
I knew I had changed in an extraordinary way.

I know I have not finished paying for these events. I pray to God about it every day. I have hurt
my children and fear how this will damage my relationship with them. I cannot imagine being
away from my children for an extended period of time, especially at the incredibly vulnerable ages
of six and nine years old. God willing, I can get through this and put my family back together.

Respectfully submitted,

David Correia




                                                 8
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 9 of 19




January 201 2021

Honorable Judge Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007

Dear Your Honorable Judge Oetken,

I am writing to you on behalf of my husband and best friend of 19 years, David Paul Correia. We
have been married for over 12 of those years and I believe no one can attest better to his
character than I can. During all of those years, he has proven to be a devoted husband and father
above all else. He is the most honest, caring, selfless, hard working and trusting, sometimes to a
fault, man I have ever met. Even during the toughest of times, he has continued to maintain a
positive outlook and attitude in life. We have had our own struggles in our marriage, but David
never gave up on us. He fought for us to see it through and communicate through our issues. He
never gave up on me and I will never give up on him.

David and I have built a beautiful family together that is the center and main priority in our lives.
We have an incredibly caring, sometimes too intelligent and mature nine year old daughter, E.C.
and a free-spirited, loving six year old son, C.C. We are together as a family every opportunity
we have throughout the day. From the moment our children wake up, we are packing lunches,
preparing breakfast, picking out clothes and driving them to school together. On the days that I
work, David picks them up from school, helps them with their homework, takes them to the park
and prepares and feeds them dinner. We put them to bed each night together, say our prayers and
spend that time to individually talk with each child separately about their day and what has been
going on in their lives. It is so essential for them to spend time with each of us as we have
different perspectives and past experiences that we can both offer to each of them.

I share this all with you because David Correia is not your average businessman father, he is also
a full time dad who is involved in every moment throughout the day and even more than most
because of my schedule. I am a Physician Assistant hospitalist at our local hospital and work 7
days on and 7 days off, 12 hour shifts. He has always supported my career and goals despite the
pressure it puts on him at home which is just another example of his selflessness.

David takes the children to church on the weekends I work to maintain our family structure and
unit which is so important in the foundational years of childhood. They go to the prayer garden
and say prayers for our family, our country and the world. We never take for granted the
responsibility of raising our children with respect, kindness and morals. He spends hours
discussing with our children, specifically C.C., the difference between right and wrong.

                                                  9
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 10 of 19




David sits with C.C. practicing his penmanship and reading books. He has been teaching C.C. to
ride a bicycle with and without training wheels. Emphasizing the importance of perseverance.
When C.C. gets frustrated, David is there to cheer him on with optimism.

I have personally seen firsthand David’s sincere regret and remorse for his business decisions
and relationships in the past. He realized that he had been a participant in wrongdoing and
wanted to take responsibility and accountability for having compromised on specific business
dealings which is why he chose to plead guilty to the charges against him. To allow for closure
to those who his actions have affected the lives of. Throughout the entire process and
investigation, David has been cooperative, respectful and abided by all requests made of him.
The behavior he exhibited in previous business is out of character for David Correia but I truly
believe his behavior was significantly influenced by his associates. We have had countless
conversations over the past year in regards to how he believes he compromised his credibility
and integrity. His greatest frustration is that he made these mistakes while trying to build
credible businesses that would have had positive impacts on the world but now the visions and
goals for those businesses have dissolved. He has learned a significant lesson and I am confident
that he will be far more cautious in the present and future with who he chooses to associate with
not just in business but in all aspects of life.

In closing, I would like to beg you, Your Honor, to take into consideration the incredible
husband, father and man that David Paul Correia is when determining his sentencing
punishment. It is not only his life that will be affected by your decision but our entire family will
be impacted, specifically two beautiful children who think the absolute world of their father. I
can only hope that this letter conveys to you my undying support of my husband and the man
that he is.

Sincerely,

Katie Ann Correia

Palm Beach Gardens, FL




                                                 10
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 11 of 19



January 18th, 2021

Honorable Judge Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007

Dear Judge Oetken,

I am writing in support of my son, David Correia.

As his mother, it gives me great pride to share my son, David Paul Correia, with you. I feel I probably
know him and how he thinks better than anyone. I also believe I understand him and admire why he
thinks the way he does.

As a young child, he was a great reader. He was always seeking biographies of leaders and spiritual
works far beyond his years. We had delightful conversations in the car about things he had read and
questions he had that I never expected from a preteen or young teenager. At 12 years of age a friend of
mine, who happened to be the principal at the school where I was teaching, and her husband, had David
visiting her son for the weekend and took David for his first golf experience and for David it was life
changing! My principal’s husband said that David was a “natural” when he brought him home that
weekend and even said that he could keep the clubs!

David found great peace on the local golf course in our town and he shared with me that when he was
on the course he forgot about everything else and just went from hole to hole. Prior to golf, from the
age of 3
      Golf helped immensely                       I admired his discipline, love of the sport, and ability to
focus – so, of course, as a single mother, I did my best to encourage his raw talent and provide him with
as many opportunities as I could afford.

To show a loving side of David as a young man, it happened one day that he called from the clubhouse
out of breath to tell me to look out the window toward the course to see a beautiful rainbow!! He had
left his clubs on the 7th hole and ran back to the phone so I wouldn’t miss the rainbow. There were
many moments like this.

During this time, his father and I were going through a difficult divorce and golf and this private time
alone helped David emotionally                                    . The golf followed through high school
and college and later to Florida and other states and countries. Florida is where he got positions at
several courses enabling him to support himself and continue to have access to the sport he loved while
pursuing his dream of professional golf.

Another thing I’d like you to know about David along with his love of golf, is that he was team-oriented,
playing lacrosse and baseball too, where he was always opening day pitcher and was also an exceptional
catcher. I feel the above was important to include because, as an educator all of my life, one can see
how the habits developed in childhood, such as the teamwork and discipline learned through sports, will
make them better able to be more effective, engaged adults.


                                                     11
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 12 of 19



David grew up in a family of 5 siblings, with a very difficult father. Further, I was
                                 as David approached his senior year in high school and his younger sister
was going into 8th grade. Through it all he remained outwardly happy, pleasant, and polite. He never
gave me any trouble during his teenage years as children often do. I think he kept all of these burdens
inside, which was a help to me, but was ultimately harder on him.

I’d like to share a very special side of David that I think effected the rest of his life. David has a very
strong Christian faith. We are a strong Catholic family but so many of my friends are saddened that their
children do not continue to follow in the Faith. David, his wife, and their young children (my beloved
grandchildren!) attend Mass together as a family every Sunday as well as are active in any other
functions and activities of their Parish. Grace is said before meals since the children were little and night
prayers together before bed. Katie, my beloved daughter-in-law, herself willingly converted to the Faith
by the influence of going to Mass with David when they were dating! He tries to live his Faith and often
calls or texts me for prayers for special intentions for himself, the family, or just a friend in need. We
have wonderful, deep spiritual discussions and when things go astray, as they have recently, David
always tries to see God’s Hands in why things happened the way they did and he asks for God’s guidance
to make things better.

Finally, I’m so proud of the wonderful family man David is! Not having a great father to emulate, he
looks to his grandfather often, my late dad, and Katie’s dad, his late father-in-law, as examples of what a
good father should be. He is a wonderful, loving father very engaged in his children’s school life, as well
as their extra curricular activities, whether it's his daughter's dancing school or his young son's own
emerging talent in athletics. He is also supportive of Katie in her work as a PA and is proud of all she
does. They have a warm and loving home and that is the most important thing in the world to him!

It is for these reasons, and so many more, that I humbly request you see David as the person I have
described when considering his sentencing. I would hate to see him suffer any more than he has this last
year and a half, as I know he has deeply reflected and learned so much from his past decisions. I would
also hate to see his young children be without him. I thank you for your time and pray for your mercy.


Respectfully,


M. Paula Correia




                                                     12
              Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 13 of 19



January 14 , 2021
Honorable Judge Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007


Dear Judge Oetken,



I am writing in support of David Correia.


My name is Hubert Weisslinger, I am 61 years old and I live Miami, Florida. I have known David Correia now
for close to six years. In that time, David and I have become very close friends, along with having done
business together. I am aware of the Criminal case against him and his pleadings of guilt, but continue to
believe he is a person of strong character and I trust him completely.

As an investor in Fraud Guarantee holdings, LLC, I believe David worked extraordinarily hard to make the
company a success. David always returned everyone of my phone calls and and was always there to answer
any questions that I may have had. I always respected the fact that David was very transparent and would
often directly share with me the status of certain projects, both good or bad news. He was open and honest
with me as to where the company stood in terms of launching a product which I believe the company would
have done, under different circumstances. Among those involved in the company, it was clear he was
responsible for almost all of the work and didn’t have much help.

On a personal note, I consider David to be a very good friend. We have developed a close bond over the
years. In fact, we still speak on a weekly basis and try to have lunch together at least once a month. My wife
and I are friendly with both David and his wife Katie and always enjoy the time we spend together. David is a
very real and down-to-earth person, not flashy or greedy. Although he was working in a world dealing with quite
a few high-level people, I can honestly say I never saw him change his personality. Being somewhat of a
successful businessman myself, having worked around the world for more than 30 years, I can say this is not
an easy thing to accomplish and I believe a real test of a person's character. I remember specifically when
David was going through his marital separation. This was a very difficult time for him and we spoke several
times a week. Through these conversations, I learned about David's morals and true priorities in life. His faith
in God is extremely strong and he never deviated from that, even during the most difficult times he was going
through. During these most difficult times legally and personally, almost every one of our conversations
consisted of him talking about his children. He was mostly concerned about keeping a peaceful home life for
them and a good relationship with his wife. His two children are clearly the most important thing in his life. It is
clear to me that most every decision he makes, personally and professionally, is with his family in mind. I
personally watched him go through a marital separation, deal with health issues and handle all of the legal
troubles of the past two years. I don’t believe the media attention




                                                        13
              Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 14 of 19

made it any easier on him either. Through all of this, I saw him stay grounded with a positive attitude, putting
his family and their well being ahead of his own.

On a separate note, David has always respected my position as an investor in the company. Knowing the fact
that I was interviewed by the government, never once asking me to discuss with him anything about my
interactions with the prosecutors (even though I would not have done so anyway), he only told me to work with
the government and tell them everything I knew, never suggesting otherwise. I believe David is a man of
integrity and a good person, father and husband. He may have made some mistakes, before, but he is taking
responsibility for them, which I admire. Throughout this whole situation, he has handled the situation with
dignity and class throughout.

As I mentioned, I think very highly of him as a person and as a father to his two young children. Because we
speak so often, I am very aware of how involved he is in their lives on a daily basis. It is very common that he
must leave our call to make a meal for his children, or pick them up from school. For all of these reasons, I
would only hope that you see David the way I do, the person that I’ve known well for many years. I pray that he
receives the most lenient of sentences possible. I know he is upset with some of the decisions that he has
made in the past and I’ve seen him change over this past two years into an even better person. I can’t imagine
a sentence of jail time would do anything to cause him to change anymore than he already has. I believe he is
a stronger and wiser person now and don’t see him ever making the same mistakes. Because of all of this, I
would hate to see his young family and children torn apart from a harsh sentence. I thank you very much for
your time in reading my letter on David’s behalf and hope my story has given you a better understanding of
David Correia as a person.



On a separate topic, my apologies for my written English as I am French (now and American citizen) and
English is not my first language. Thank you




Sincerely,



Hubert Weisslinger


Miami, FL




                                                        14
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 15 of 19



Honorable Judge Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007


January 13, 2021
Character Reference Letter


Dear Judge, Oetken,

I am writing in support of David Correia and truly hope that my words carry some meaning, as David
means a lot to me and it is my firm belief that he is one of the few people on this earth that truly impact
society for the better.

To give you some perspective, David and I met a decade ago through a mutual friend. As a result of a lot
of shared values and interests we immediately hit it off and candidly became close friends. We have
had the opportunity to get to know each other quite well, whether it was through dinners, long phone
calls, business opportunities and even mini vacations and day trips. As the years have progressed, so
has our friendship and my admiration for David. There are not enough superlatives I could use to
describe him, but I’ll give it a shot: thoughtful, giving, intelligent, passionate, positive, driven, honest,
hardworking and loyal. David is what I like to refer to as a mensch.

Who is Adam Connors and why does my perspective matter? In the grand scheme of things, I do not
consider myself very special however, it’s been my mission in life to improve the lives of others. I do this
formally through my company, NetWorkWise, but have been doing it informally my entire life through
helping people get jobs, finding places to live, introducing them to services or people that can help those
in need. I have also saved three people of dying, two from suicide and one from choking. I have a wife,
two daughters and a dog. I have sat on a few boards and have also been a positive contributor to my
community, in Hoboken, NJ. I give you this background because I like to think that I am a relatively good
judge of character and have a lot of acquaintances, but very few “friends” that I truly trust, or for that
matter, “truly know” and could rely on. David is a friend!

How important I value David and our relationship is probably best exemplified through an experience
that happened relatively recently. As I mentioned before, I have two daughters that right now are going
through challenging times (adolescence, Covid and other personal matters that I’m not going to bore
you with). As a result of the aforementioned, my wife and I have had a really hard time getting through
to them and didn’t know what to do. Furthermore, there weren’t many people we felt comfortable
confiding in. As such, I turned to David for council, which ended up being one of the highlights of 2020
(Yes, I understand that bar is low, but work with me here Judge). In all seriousness, we put David on
speaker phone with the entire family, walked him through the issues we were dealing with and let him
hold court. A couple hours later, thanks to his ability to stay calm, be articulate and display high levels
of empathy we had a family breakthrough. I’m not sure if you have a family or daughters in particular,
but I hope you can appreciate the magnitude of what that did for all of us. I do think it’s also worth
mentioning that David, in true David fashion dropped what he was doing to help us.


                                                     15
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 16 of 19



By the way, this was when he was right in the heat of dealing with his personal criminal matters, some
challenges with his own kids, financial ruin and while suffering through an impending divorce and I can
only imagine the amount of massive loneliness.

It is for these and so many reasons more that I am proud to call David my friend and honored to have
you learn more about who he is and my relationship with him.

The world needs more people like David, and I am happy to discuss him further if you would like to
speak directly.



Sincerely,



Adam Connors

Hoboken, NJ




                                                   16
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 17 of 19



January 12, 2021



Honorable Judge Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007

Dear Judge Oetken,

I am writing in support of David Correia.

My name is Patrick Preece, and I am currently president of Saratov Capital. I have held a number of
senior executive positions over the last 30 years, in the banking, finance and insurance industries. I
have held a number of licenses in these industries and have never had a complaint filed against any of
my licenses.

I have known David for over 8 years now, as both a friend and as a business partner. My late mother
used to tell me that adversity was not so much a character builder as a character revealer. From my
time with David, as my partner in a struggling insurance agency, as well as during the difficult times he
has faced since then, has shown to me that he is a man of exceptional character. I have found him to be
honest to a fault, and his integrity beyond reproach. I TRUST DAVID IMPLICITLY. If David has a fault, he
has been too trusting of the people around him.

In addition, I have found David to be an extremely caring and attentive father and husband. The passion
he has shown for his family is something for us all to strive for in our own lives.

I consider it an honor to be a character reference for David Correia.

Sincerely,


Patrick Preece




                                                    17
      Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 18 of 19




Honorable Judge Paul Oetken
United States District Judge
500 Pearl street
New York, NY 10007

Dear Judge Oetken

I am writing a letter in support of David Correia’s character.

I have known David for approximately 5 years when I was a Lloyd’s of London broker
representing Fraud Guarantee as a client to seek reinsurance behind their product. As a
cyber security and financial expert I have a vast array of tools at my disposal to fact
check and cross reference. We have worked together, including face to face visits and
representations to the Lloyd’s market for over a year and in that time became great
friends. David and I have continued to keep in contact and problem solve business
opportunities.

I understand and respect that David has been accused of several crimes and has plead
guilty however I would like to state that David, as a God fearing man, has been nothing
but an incredible friend, mentor and client in the past and has spoken nothing but the
truth in all of his representations in both a professional and personal occupation.

I would thank the court and ask that you look upon David with the most favorable and
lenient terms should he be found guilty of these crimes as to best allow him to continue
to spend time with his young children.

Thank you in Advance


                                                         Christian Ogden Davies
                                                         Managing Director
                                                         Cronus Capital Consulting
                                                         London, United Kingdom




                                             18
       Case 1:19-cr-00725-JPO Document 169-1 Filed 01/25/21 Page 19 of 19



January 22, 2021
Honorable Judge Paul Oetken
United States District Judge
500 Pearl Street
New York, NY 10007

Dear Judge Oetken,

My name is Lowery Robinson and I am currently Head of Global Contingency for Specialty Insurance
Group. I am writing in support of and regards to David Correia. I was originally introduced to Dave by a
trusted insurance broker in 2013 when Dave was in the process of providing investors a legitimate
insurance policy offered by an A+ rated carrier to provide protection from another potential Bernie
Madoff scenario. Over the course of the next five years we attempted multiple avenues to develop a
compliant insurance policy to offer this coverage to the consumer. In the end we were unable to
develop this coverage mainly due to the lack of available statistical data and/or resources that would
inevitably be needed to support the underwriting file and validate a claim.

During this collaboration I came to respect Dave regarding his focus, work ethic and dedication to make
this product mutually beneficial for both the insurance carrier and his potential future clients. I can
appreciate that Dave has admitted and pled guilty, however I believe with all my heart this is not an
accurate reflection on who Dave Correia is as a human being, but rather a temporary mistake in
judgement. Throughout the entire relationship in dealing with Dave concerning the Fraud Guarantee
project we encountered many challenges, but there was absolutely no hint of any personality flaw or
even any pressure from Dave to alter in any way our final decision to decline offering this coverage.

Judge Oetken, thank you and the court for hearing my plea and understand that I am not a naïve person
and I understand that an infraction occurred however, please consider leniency in consideration of Dave
as he mirrored nothing short of being a good father, husband and business man during the time we
engaged in this project.

Sincerely,

Lowery Robinson
Head of Global Contingency
Specialty Insurance Group




                                                   19
